                      Case 1:94-cr-00741-JB Document 92 Filed 04/20/21 Page 1 of 1


                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                            Before the Honorable Kirtan Khalsa
                                                      Initial Appearance
Case Number:                94cr741 JB                            UNITED STATES vs. Joe
Hearing Date:               4/21/2021                             Time In and Out:          9:36-9:37; 10:39-10:43
Courtroom Deputy:           E. Hernandez                          Courtroom:                ABQ Zoom
                                                                                            Buck Glanz for initial purposes
Defendant:                  Lavonne Joe                           Defendant’s Counsel:
                                                                                            only
AUSA:                       Paul Spiers                           Pretrial/Probation:           A. Escobedo
Interpreter:                N/A                                   Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant wants Court appointed counsel
☒     Government moves to detain                                  ☐ Government does not recommend detention
☒     Set for Preliminary Revocation/Detention Hearing            on Thursday, April 22, 2021      @ 9:30
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
      Defendant remanded to custody of United States
☒     Marshal's Service
☐     Conditions
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☒
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☐
